
907 So.2d 618 (2005)
T.J.M., a Child, Appellant,
v.
STATE of Florida, Appellee.
No. 5D04-794.
District Court of Appeal of Florida, Fifth District.
July 22, 2005.
James S. Purdy, Public Defender, and Susan A. Fagan, Assistant Public Defender, Daytona Beach, for Appellant.
Charles J. Crist, Jr., Attorney General, Tallahassee, and Belle B. Schumann, Assistant Attorney General, Daytona Beach, for Appellee.
PER CURIAM.
We affirm this case based on V.K.E. v. State, 902 So.2d 343, (Fla. 5th DCA 2005). As in that case, we certify the following question to the Florida Supreme Court.
DOES A TRIAL JUDGE HAVE THE POWER AND AUTHORITY TO IMPOSE ON JUVENILES IN A JUVENILE DELINQUENCY PROCEEDING, THE MANDATORY SURCHARGES SET FORTH IN SECTIONS 938.08 AND 930.085?
AFFIRMED; Question CERTIFIED.
SHARP, W., GRIFFIN and PALMER, JJ., concur.
